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KW BREVARD

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Keller Williams of Brevard DNC Policy

It is the policy of Keller Williams of Brevard (“KW”) to fully comply with all
applicable Do Not Call (“DNC”) laws and regulations regarding wired and
wireless telephone communications (whether by live, artificial, or prerecorded
voice, telephone facsimile machine, computer or otherwise) to any covered
telephone line or number. KW does not make or sanction the making of so-called
“robocalls” nor mass emails or texts.

All employees, independent contractors, vendors, and any persons or entities
purporting to act on behalf of KW are strictly forbidden from making any
telemarketing calls or communications without first consulting with KW’s
Operating Partner or their designee regarding appropriate procedures adhering
to the TCPA and applicable state laws. Agents and brokers conducting
telemarketing in reference to a product or marketing initiative of KW or any KW
affiliate or subsidiary shall fully adhere to the TCPA, any related federal laws,
regulations and rules, and all applicable state laws (collectively, “Telemarketing
Laws’).

In a good faith effort to so comply and to provide consumers with an opportunity
to exercise their DNC rights, KW hereby establishes and will implement, the
following procedures:

1. No representative of KW shall initiate any telephone solicitation, as defined by
law, to any residential telephone subscriber before the hour of 8:00 a.m. or after
9:00 p.m. (local time at the called party’s location).

2. KW abides by the guidelines set out by the National Federal Trade Commission
and Local State Guidelines. All Do Not Call numbers will be removed from KW
calling ad infinitum. The following are the ways that numbers can be put on KW
DNC List:

a. National, State, and Wireless DNC lists are updated every 31 days. These
numbers are removed from the active calling and put on the Master DNC
List.

b. If someone wants to put their numbers on the DNC, their numbers will be
automatically put into the Master DNC List. This is updated every day.

c. If KW receives communication after point of contact by someone wanting to
put their number on our DNC list, this will be manually entered in the master
DNC List which updates instantaneously, after which no contact will be

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made. In addition, KW’s DNC regulatory compliance is verified by an
independent third party on a regular basis.

3. Before making any telephone solicitation, KW shall remove any and all telephone
numbers listed on a newly obtained solicitation list which are also currently
listed in the Master DNC list. The process is performed by an automated filtering
process at the database level.

4. Asan additional precaution, the Master DNC list is automatically synchronized
between all dialing systems (if any) and databases on a daily basis. The electronic
synchronization will remove all newly added or synchronized telephone numbers
from all dialing systems (if any) and solicitation lists.

5. Exceptions to procedures (3) and (4) above include:

a. When KW has the subscriber’s prior express permission, evidenced by a
signed written agreement which states that the consumer agrees to the
contact by KW and includes the telephone number to which the call may be
placed,

b. the KW representative making the call has a personal relationship with the
recipient of the call (a personal relationship means that the person called is
personally known to the caller), or

c. KW hasan “established business relationship,” as defined by law, which is
such to create an expectation on the part of the consumer that a particular
company will call them. An established business relationship with one
company may extend to an affiliate of that company if the consumer would
reasonably expect the affiliate to be included as part of the relationship (for
example, customer service or billing concerns).

Individuals who violate these policies and procedures must be promptly reported
to KW leadership. KW respects the privacy of all our customers and strives to
provide the best possible customer service. If you feel that you have been
contacted in violation of this policy or applicable Federal or State law, then
please contact us immediately.

KELLER WILLIAMS® REALTY BREVARD

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